234 U.S. 166
    34 S.Ct. 883
    58 L.Ed. 1266
    NEW YORK LIFE INSURANCE COMPANY, Plff. In Err.,v.RICHARD G. HEAD, JR., by His Next Friend, B. F.  Deatherage.
    No. 225.
    Argued March 10, 1914.
    Decided June 8, 1914.
    
      Messrs. James H. McIntosh, Gardiner Lathrop, Cyrus Crane, O. W. Pratt, and S. W. Moore for plaintiff in error.
      Messrs. Buckner F. Deatherage, James S. Botsford, Goodwin Creason, W. P. Borland, and James A. Reed for defendant in error.
      Mr. Chief Justice White delivered the opinion of the court:
    
    
      1
      This case is governed by the opinion in No. 254, just decided [234 U. S. 149, 58 L. ed. ——, 34 Sup. Ct. Rep. 879]. The policy sued on was one of the two issued to Richard G. Head in Kansas City, Missouri, in favor of his minor son. It was delivered at Kansas City and the first premium paid there, as in the previous case, and the subsequent premiums were paid in New Mexico. There was borrowed upon the policy by authority of the proper probate court in New Mexico the sum of $2,270, under a loan agreement and pledge; there was a default and an adjustment of the policy as in the other case. The case was tried in the court of first instance with the other case, was embraced in the supreme court of Missouri by the same opinion by which the other case was disposed of, and there thus being no distinction between the two cases, for reasons given in the other case, No. 254, the judgment is reversed.
    
    